Filed 09/14/17                                                         Case 17-26125                                                                        Doc 1


  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                      Chapter      11
                                                                                                                                Check if this an
                                                                                                                                amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/16
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
 For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                First Capital Retail, LLC

  2.   All other names debtor
       used in the last 8 years
       Include any assumed
       names, trade names and
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                    business

                                    2355 Gold Meadow Way, Suite 160
                                    Rancho Cordova, CA 95670
                                    Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                    Sacramento                                                      Location of principal assets, if different from principal
                                    County                                                          place of business

                                                                                                    Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)


  6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other. Specify:




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Filed 09/14/17                                                            Case 17-26125                                                                           Doc 1
  Debtor    First Capital Retail, LLC                                                                    Case number (if known)
            Name



  7.   Describe debtor's business        A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            None of the above

                                         B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                   5511

  8.   Under which chapter of the        Check one:
       Bankruptcy Code is the
                                            Chapter 7
       debtor filing?
                                            Chapter 9

                                            Chapter 11. Check all that apply:
                                                                   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12



  9.   Were prior bankruptcy                No.
       cases filed by or against
       the debtor within the last 8         Yes.
       years?
       If more than 2 cases, attach a
       separate list.                               District                                When                                  Case number
                                                    District                                When                                  Case number


  10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an                Yes.
      affiliate of the debtor?
       List all cases. If more than 1,
       attach a separate list                       Debtor                                                                    Relationship
                                                    District                                When                              Case number, if known




  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
Filed 09/14/17                                                           Case 17-26125                                                                               Doc 1
  Debtor   First Capital Retail, LLC                                                                 Case number (if known)
           Name



  11. Why is the case filed in    Check all that apply:
      this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                           preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or          No
      have possession of any
      real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                      Yes.
      property that needs
      immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?
                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                 livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  Other
                                               Where is the property?
                                                                                Number, Street, City, State & ZIP Code
                                               Is the property insured?
                                                  No
                                                  Yes.    Insurance agency
                                                          Contact name
                                                          Phone



           Statistical and administrative information

  13. Debtor's estimation of      .         Check one:
      available funds
                                               Funds will be available for distribution to unsecured creditors.

                                               After any administrative expenses are paid, no funds will be available to unsecured creditors.


  14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
      creditors                                                                        5001-10,000                                 50,001-100,000
                                      50-99
                                      100-199                                          10,001-25,000                               More than100,000
                                      200-999

  15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                      $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                      $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


  16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                      $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                      $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Filed 09/14/17                                                         Case 17-26125                                                                            Doc 1
  Debtor    First Capital Retail, LLC                                                                Case number (if known)
            Name



            Request for Relief, Declaration, and Signatures

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

  17. Declaration and signature
      of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
      representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                   Executed on      September 14, 2017
                                                    MM / DD / YYYY


                               X   /s/ Rameshwar Prasad                                                     Rameshwar Prasad
                                   Signature of authorized representative of debtor                         Printed name

                                   Title   Managing Member




  18. Signature of attorney    X   /s/ Gabriel E. Liberman                                                   Date September 14, 2017
                                   Signature of attorney for debtor                                               MM / DD / YYYY

                                   Gabriel E. Liberman
                                   Printed name

                                   Law Offices of Gabriel Liberman, APC
                                   Firm name

                                   2033 Howe Ave., STE 140
                                   Sacramento, CA 95825
                                   Number, Street, City, State & ZIP Code


                                   Contact phone     916-485-1111                  Email address      attorney@4851111.com


                                   Bar number and State




  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
Filed 09/14/17   Case 17-26125   Doc 1
Filed 09/14/17                                                                   Case 17-26125                                                                                            Doc 1


   Fill in this information to identify the case:
   Debtor name First Capital Retail, LLC
   United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                          Check if this is an
                                                  CALIFORNIA
   Case number (if known):                                                                                                                              amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
  Are Not Insiders                                                                           12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
  among the holders of the 20 largest unsecured claims.

   Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
   complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
   including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                    professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                    and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                    contracts)                                                 partially secured          of collateral or setoff
   2250 Town Circle                                               Past Due Rent                                                                                             $52,151.32
   Holdings, LLC                                                  Lease Agreement
   7501 Wisconsin                                                 Case No.
   Avenue, Suite 500 W                                            RIC1712563
   Bethesda, MD 20814
   Byline Bank                                                                                                        $171,786.91                        $0.00            $171,786.91
   180 N Lasalle Street
   Chicago, IL 60601
   Byline Bank                                                                                                     $1,999,732.36                         $0.00          $1,999,732.36
   180 N Lasalle Street
   Chicago, IL 60601
   Century City Mall,                                             Past Due Rent                                                                                           $118,802.63
   LLC                                                            Lease Agreement
   2049 Century Park                                              10250 Santa
   East, 41st Floor                                               Monica Blvd.,
   Los Angeles, CA                                                #2760
   90067                                                          Los Angeles, CA
                                                                  90067
   Century City Mall,                                             Past Due Rent                                                                                           $105,876.96
   LLC                                                            Lease Agreement
   2049 Century Park                                              10250 Santa
   East, 41st Floor                                               Monica Blvd.,
   Los Angeles, CA                                                #2765
   90067                                                          Los Angeles, CA
                                                                  90067
   Cinnabon                                                       Past Due                                                                                                $312,938.40
   5620 Glenridge                                                 Royalties and
   Drive                                                          ADV (Advertising)
   Atlanta, GA 30342                                              for Franchise
   ESBF California,                                                                                                   $203,602.25                        $0.00            $203,602.25
   LLC
   5 West 37th Street,
   2nd Floor
   New York, NY 10018




  Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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Filed 09/14/17                                                                   Case 17-26125                                                                                            Doc 1



   Debtor    First Capital Retail, LLC                                                                          Case number (if known)
             Name

   Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
   complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
   including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                    professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                    and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                    contracts)                                                 partially secured          of collateral or setoff
   Everest Financial                                                                                                  $183,602.25                        $0.00            $183,602.25
   Group
   701 Xenia Ave S #
   250
   Minneapolis, MN
   55416
   GGP Northridge                                                 Past Due Rent                                                                                             $53,531.96
   Fashion Center, LP                                             Lease Agreement
   110 North Wacker                                               Galleria at Tyler
   Drive
   Chicago, IL 60606
   Happy Rock                                                                                                         $383,359.00                        $0.00            $383,359.00
   Merchant Solutions
   149 W 36th Street,
   12th Floor
   New York, NY 10018
   Heartland Bank                                                                                                  $5,895,511.25                         $0.00          $5,895,511.25
   5100 Kavanaugh
   Blvd
   Little Rock, AR
   72207
   Heartland Bank                                                                                                  $5,038,500.00                         $0.00          $5,038,500.00
   5100 Kavanaugh
   Blvd.
   Little Rock, AR
   72207
   Heartland Bank                                                                                                  $4,394,227.15                         $0.00          $4,394,227.15
   5100 Kavanaugh
   Blvd.
   Little Rock, AR
   72207
   iKahn Capital, LLC                                                                                                 $101,485.00                        $0.00            $101,485.00
   160 Pearl Street
   New York, NY 10005
   Macerich Vintage                                               Past Due Rent                                                                                           $156,305.41
   Faire, LP                                                      Lease Agreement
   401 Wilshire Blvd.,
   Suite 700
   Santa Monica, CA
   90401
   Montebello Town                                                Past Due Rent                                                                                             $43,686.72
   Center Investors,                                              Lease Agreement
   LLC                                                            Case No.
   10 State House                                                 BC670442
   Square, 15th Floor
   Hartford, CT 06103
   Star-West Solano                                               Past Due Rent                                                                                           $127,499.00
   Mall, LLC                                                      Lease Agreement
   1350 Travis Blvd.                                              Case No.
   Fairfield, CA 94533                                            FCS048151




  Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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   Debtor    First Capital Retail, LLC                                                                          Case number (if known)
             Name

   Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
   complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
   including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                    professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                    and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                    contracts)                                                 partially secured          of collateral or setoff
   State Board of                                                 2017 Quarter 2                                                                                          $240,000.00
   Equalization                                                   $136,000 Est.
   P.O. Box 942879                                                2017 Quarter 3
   Sacramento, CA                                                 $104,00.00 Est.
   94279-4001
   World Global                                                                                                       $116,486.00                        $0.00            $116,486.00
   Financing, Inc.
   141 North East, 3rd
   Avenue
   Miami, FL 33132
   Yellowstone Capital                                                                                                $354,137.49                        $0.00            $354,137.49
   West, LLC
   30 Broad Street,
   14th Floor
   New York, NY 10004




  Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                U.S.D.O.J. - Office of the U.S. Trustee
                                Eastern District of CA / Sacramento
                                Robert T. Matsui U.S. Courthouse
                                501 "I" St., 7th Floor, Room 7-500
                                Sacramento, CA 95814


                                First Capital Retail, LLC
                                2355 Gold Meadow Way, Suite 160
                                Rancho Cordova, CA 95670


                                2250 Town Circle Holdings, LLC
                                7501 Wisconsin Avenue, Suite 500 W
                                Bethesda, MD 20814


                                5060 Montclair Plaza Lane Owner, LLC
                                4700 Wilshire Blvd.
                                Los Angeles, CA 90010


                                Arden Fair Associates, L.P.
                                1689 Arden Way, Suite 1167
                                Sacramento, CA 95815


                                Board of Equalization
                                450 N. Street, MIC 55
                                Sacramento, CA 95814


                                Boston Barricade Company, Inc.
                                1151 19th Street
                                Vero Beach, FL 32960


                                Byline Bank
                                180 N Lasalle Street
                                Chicago, IL 60601


                                Byline Bank
                                10 N. Martingale Road, Suite 100
                                Schaumburg, IL 60173


                                Cella Lange & Cella, LLP
                                1600 Main Street, Suite 180
                                Walnut Creek, CA 94596


                                Century City Mall, LLC
                                2049 Century Park East, 41st Floor
                                Los Angeles, CA 90067
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                                Cinnabon
                                5620 Glenridge Drive
                                Atlanta, GA 30342


                                Emi Santa Rosa Limited Partnership
                                305 E. 47th Street
                                3 Dag Hammarskjold Plaza
                                New York, NY 10017


                                Employment Development Department
                                Bankruptcy Group, MIC 92E
                                P.O. Box 826880
                                Sacramento, CA 94280


                                ESBF California, LLC
                                5 West 37th Street, 2nd Floor
                                New York, NY 10018


                                Everest Financial Group
                                701 Xenia Ave S # 250
                                Minneapolis, MN 55416


                                Franchise Tax Board
                                Bankruptcy Section
                                P.O. Box 2952 MSA - 340
                                Sacramento, CA 95812


                                GGP Northridge Fashion Center, LP
                                110 North Wacker Drive
                                Chicago, IL 60606


                                GOCAP FInancial Funding
                                149 West 36th Street, 12th Floor
                                New York, NY 10018


                                Goodkin & Lynch, LLP
                                1875 Century Park East, Suite 1860
                                Los Angeles, CA 90067


                                Happy Rock Merchant Solutions
                                149 W 36th Street, 12th Floor
                                New York, NY 10018
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                                Heartland Bank
                                5100 Kavanaugh Blvd
                                Little Rock, AR 72207


                                Heartland Bank
                                5100 Kavanaugh Blvd.
                                Little Rock, AR 72207


                                iKahn Capital, LLC
                                160 Pearl Street
                                New York, NY 10005


                                Imperial Valley Mall II, LP
                                2030 Hamilton Place Blvd., Suite 500
                                Chattanooga, TN 37421


                                Internal Revenue Service
                                United States Attorney
                                501 I Street, Suite 10-100
                                Sacramento, CA 95814


                                Internal Revenue Service
                                United States Department of Justice
                                Civil Trial Section, Western Region
                                Box 683, Ben Franklin Station
                                Washington, DC 20044


                                Jackson Walker, LLP
                                777 Main Street, Suite 2100
                                Fort Worth, TX 76102


                                Law Office of Jennifer I. Freedman
                                4225 Executive Square, Suite 380
                                La Jolla, CA 92037


                                Macerich Vintage Faire, LP
                                401 Wilshire Blvd., Suite 700
                                Santa Monica, CA 90401


                                Max Recovery Group, LLC
                                Attn: Vadimm Serebro
                                1 World Trade Center, Suite 8500
                                New York, NY 10007
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                                Max Recovery Group, LLC
                                383 Madison Avenue
                                New York, NY 10179


                                MCA Recovery
                                Attn: Renata Bukhman
                                17 State Street, Suite 4000
                                New York, NY 10004


                                ML Factors Funding, LLC
                                428 Central Avenue
                                Cedarhurst, NY 11516


                                Montebello Town Center Investors, LLC
                                10 State House Square, 15th Floor
                                Hartford, CT 06103


                                Northridge Owner, L.P.
                                591 W Putnam Avenue
                                Greenwich, CT 06830


                                Oswalt & Associates
                                P.O. Box 607
                                Imperial, CA 92251


                                Pacific Rim Contractors, Inc.
                                1315 E. Saint Andrew Place, Unit B
                                Santa Ana, CA 92705


                                Perkins Coie, LLP
                                1888 Century Park East, Suite 1700
                                Los Angeles, CA 90067


                                Simon
                                225 West Washington Street
                                Indianapolis, IN 46204


                                Star-West Solano Mall, LLC
                                1350 Travis Blvd.
                                Fairfield, CA 94533


                                Star-West Solano Mall, LLC
                                1 E Wacker Drive
                                Chicago, IL 60601
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                                State Board of Equalization
                                P.O. Box 942879
                                Sacramento, CA 94279-4001


                                Sunrise Mall Property, LLC
                                1345 Avenue of the Americas
                                New York, NY 10105


                                Sunvalley Shopping Center, LLC
                                200 E Long Lake Road
                                Bloomfield Hills, MI 48304


                                The Byrne Law Office
                                24011 Ventura Blvd., Suite 201
                                Calabasas, CA 91302


                                Trainor Fairbrook
                                980 Fulton Avenue
                                Sacramento, CA 95825


                                Universal Studios, LLC
                                100 Universal City Plaza
                                Universal City, CA 91608


                                Weston Herzog, LLP
                                550 N. Brand Blvd., Suite 1990
                                Glendale, CA 91203


                                World Global Financing, Inc.
                                141 North East, 3rd Avenue
                                Miami, FL 33132


                                Yellowstone Capital West, LLC
                                30 Broad Street, 14th Floor
                                New York, NY 10004
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                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
     In re      First Capital Retail, LLC                                                                        Case No.
                                                                                       Debtor(s)                 Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

    Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
    recusal, the undersigned counsel for First Capital Retail, LLC in the above captioned action, certifies that the following
    is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
    any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



        None [Check if applicable]




     September 14, 2017                                                   /s/ Gabriel E. Liberman
     Date                                                                 Gabriel E. Liberman
                                                                          Signature of Attorney or Litigant
                                                                          Counsel for First Capital Retail, LLC
                                                                          Law Offices of Gabriel Liberman, APC
                                                                          2033 Howe Ave., STE 140
                                                                          Sacramento, CA 95825
                                                                          916-485-1111 Fax:916-485-1111
                                                                          attorney@4851111.com




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